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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA



David Alan Carmichael, et al.,                ) Civil Action No.: 19-2316 (RC)
                                              )
                                              )
                 Plaintiffs,                  ) Re: Motion For Sanctions
                                              )
                       vs.                    )
                                              )
Michael Richard Pompeo, in his                )
                                              )
official capacity as Secretary of State of    )
the United States, et al.,                    )
                                              )
                 Defendants.                  )
                                              )
                                              )
                                              )

            Plaintiff Bolton’s Motion For Sanctions Against The Defendants
For Violation of Rule 11(b)(3) & (4), and 18 U.S.C. § 1001, and Memorandum In Support

      1.     The Defendants have made and have repeated factual contentions that have no

evidentiary support, and have no likelihood of having evidentiary support after a reasonable

opportunity for further investigation or discovery in violation of Rule 11(b)(3); and,

      2.     The Defendants have made and have repeated denial of factual contentions, with

their denials being unwarranted on the basis of the evidence known to the Defendants and are

not reasonable based upon their belief or lack of knowledge in violation of Rule 11(b)(4); and,

      3.      The Defendants’ wantonly-false, factual contentions and denials of factual

contentions, were made accompanied with, and reliant upon, declarations under oath where they

willfully committed direct and extrinsic fraud upon the judicial branch of the United States; a

contempt of court and a felony pursuant to 18 U.S.C. § 1001.

      4.     Sanctions against the Defendants, the Defendants’ Attorney, and Kristia N. Watkins

are warranted, are demanded by me, and are so moved for hereby.



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           The Defendants, Kristia N. Watkins, and Attorney Christopher Hair Violated Rule
                              11(b)(3) & (4) and 18 U.S.C. § 1001

      5.      On May 21, 2021, I moved to intervene (join) saying that the Defendants violated

the law when they recently denied my application for passport renewal that was accompanied by

a request for religious accommodation to not be required to identify with a social security

number (hereinafter “SSN”) for purposes of having a U.S. passport (ECF 94 & 94-1 Intervener

Complaint). Referring to the Application for passport renewal that I filed on March 9, 2021, my

complaint alleged, saying, “The SSN block on the forms used the words, "Refused for religious

reasons" just as was instructed by the Defendants in the case Docket 80, paragraph 3.” (ECF 94-

1, ¶ 11.) They then alleged, saying “On March 12, 2021, Defendants, and each of them, refused

to issue a passport to Boulton on the grounds she has refused to provide a Social Security

Number.” (ECF 94-1, ¶ 12.) I complained for the Defendants’ violation of 28 U.S.C. § 2721,

Impermissible basis for the denial of passports, violation of 42 U.S.C. § 2000bb, et. seq.,

Religious Freedom Restoration Act; and for Declaratory and Injunctive Relief.

      6.      The Defendants then committed their first violation of Rule 11(b)(3) & (4), and 18

U.S.C. 1001 in their response memorandum (ECF 95) and their declaration under oath by

Kristia N. Watkins (ECF 95-1). In the first paragraph of their response memorandum, the

Defendant falsely contended, “Further, as explained in the declaration of Kristia Watkins

(attached hereto) and contrary to Ms. Boulton’s assertion, her passport application has not been

denied by the State Department and she has not been denied any requested religious

accommodation.” No evidence was supplied by the Defendants’ Attorney or by Kristia N.

Watkins to support their contention and declaration.

      7.      The gravamen of the Defendants’, their Attorney’s and Kristia N. Watkin’s willing

deception is:


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      “Ms. Boulton’s claims are based on the false premise that her passport application
      has been denied. As explained in Ms. Kristia Watkins’s declaration, Ms. Boulton
      has not been denied any passport for failing to provide a social security number.
      On the contrary, Ms. Boulton executed a passport application on March 9, 2021.
      On or around the same day, the U.S. 6 Embassy in San Jose, Costa Rica, sent Ms.
      Boulton a letter requesting additional information. She has yet to respond to this
      request and her application is still pending review.” Ms. Boulton does not claim
      that her passport application has been unreasonably delayed. Rather, she asserts
      that the State Department denied her application for failing to provide a Social
      Security Number. As noted, this is false. (Def. Mem. ECF 95-1, p. 5, last para.
      through p. 6, 1st para.)

      8.     The Defendants’ supplied the Declaration of Kristia N. Watkins in support of their

Response memorandum in opposition to my joining the case (ECF 95-1 and 95, respectively).

Kristia N. Watkins stated:

      “On or around March 9, 2021, Ms. Boulton re-appeared at the U.S. Embassy in
      San Jose, Costa Rica, to execute an application for a U.S. passport using Form DS-
      5504, “Application for a U.S. Passport: Name Change, Data Correction, and
      Limited Passport Book Replacement.” 4. On or around March 9, 2021, the U.S.
      Embassy in San Jose, Costa Rica, requested that Ms. Boulton provide additional
      information regarding her identify and has given her ninety (90) days, or until June
      7, 2021, to respond.”

      9.     Notwithstanding her declared familiarity of my case and her “review of Department

of State records and discussions with Department of State employees”, Kristia N. Watkins

excluded any mention of my request for religious accommodation to not have to identify with a

SSN (ECF 109-3, ltr. Req. Rel. Accom.; 109-4, Reiteration of rel. accom. req.; 109-5, status

query; 109-6, status and position query). Rather than stating the fact that her Department denied

my application for want of a SSN, she declares, “On or around March 9, 2021, the U.S.

Embassy in San Jose, Costa Rica, requested that Ms. Boulton provide additional information

regarding her identify and has given her ninety (90) days, or until June 7, 2021, to respond.”

      10.    On March 12, 2021, the Defendants official email correspondence stated:

          “Upon review of your passport application dated March 9, 2021, we note a
     Social Security Number has not been provided. Per federal regulations, if an
     applicant has been issued a Social Security Number and either cannot or refuses to

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     provide it for whatever reason, they are only eligible for a direct return passport.
          Please see https://travel.state.gov/content/travel/en/passports/passport-
     help/faqs.html#ssn for questions regarding Social Security Numbers and passport
     applications.
          Accordingly, your passport application will remain pending at the Embassy for
     90 days based on when the application was received. If the required information is
     not received within the 90-day period, the application will be denied. Please let us
     know if you wish to proceed with a direct return passport or if you wish to provide
     your social security number, we can process the application.” (My Attached
     Declaration, ¶ 11.; ECF 98-1, Plaint. Boulton, Exh. A, ECF 109-1, Exh. A)
     (Emphasis added)

      11.    If Kristia N. Watkins declaration was true regarding her review of my records, she

had to be well aware that on March 23, 2021, I reiterated my request for religious

accommodation, my eligibility, my civil allegiance, and my fulfilling the law (My Attached

Declaration, ¶¶ 12 – 14 & ECFs 109-3-6). On March 30, the Defendants official email

correspondence repeated the exact words demanding a SSN, and that lack of the “required

information” SSN guaranteed the application denial and that the application could not be

processed without my supplying a SSN.

      12.   The “additional information regarding her identity” declared by Kristia N. Watkins

is clearly a deliberately evasive and misleading conclusive summary statement. The “additional

information” for which they waited was a SSN. The March 12th and 30th agency letters

expressly stated that they will not process the application. That was an absolute. There was

certainly no other “information” for which the agency waited on the day of Kristia N. Watkins

declaration and the Defendants’ Attorney’s submission of their response memorandum where

they more than once accused me of making a false statement. That is their first count of

violating Rule 11(b)(3) & (4), and 18 U.S.C. § 1001.

      13. It was Friday, June 4, 2021 that the Defendants said they were waiting for that

“further information” that they did not say was a SSN, while knowing it was. They said the

deadline was Monday, June 7, 2021 which was the very next business day.

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      14. The next business day came and passed with no action from the Defendants and no

action from me to provide the “further information” SSN.

      15. June 15, 2021, I refuted the claims of the Defendants and Kristia N. Watkins. I

submitted copies of the agency official email correspondence of March 12 and 30, 2021 in my

June 15, 2021 reply to the Defendant’s opposition to my joining the case (ECF 98, 98-1, 98-2).

      16. Two months after the supposed “further information” deadline, on Sunday, August 8,

2021, the Court ordered the Defendant to provide a status report by August 23, 2021, regarding

the status of my passport application for which they said they were awaiting “further

information” without admitting it was a SSN (Aug. 8, 2021 Minute Order).

      17. The second business day after the Court order for a status report, August 10, 2021, the

Defendant notified me by email that they had approved my passport renewal application.

Discovery will show what prompted the post-90 day deadline sudden repentance. I never did

supply that “further information” demanded by the Defendant (See my attached Declaration). It

is glaringly obvious that they only stopped the persecution against me under the clear and

present danger of the litigation.

      18. On August 20, 2021, in its status report demanded by the Court, the Defendant

reinforced the June 4, 2021, false contention of the Defendants, violating Rule 11(b)(3) & (4)

and 18 U.S.C. § 1001 for the second time. In the context of their June 4 th deliberate

misstatements and exclusion of relevant facts, the Defendants’ status report paints the false

picture that the reasons for the denial of my passport renewal to that date was due to some

“further information” other than a SSN and that I had provided it:

     “On or around March 9, 2021, the U.S. Embassy in San Jose, Costa Rica, requested
     that Ms. Boulton provide additional information regarding her identity no later than
     June 7, 2021, to respond. Id. On August 10, 2021, the State Department notified Ms.
     Boulton that the administrative process regarding her passport application has been
     completed and a passport has been issued. See Exhibit A (attached hereto).” (ECF

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     105)

      19. Satisfied to some extent that the egregious labors of myself and other Plaintiffs had

finally coaxed the Defendants into obeying the law, I was nonetheless appalled by the

Defendants’ fraud. I filed my response to the Defendants’ status report where I filed a

declaration of the actual facts, and black letter evidence to support it, showing the falsehood of

the Declaration of Kristia N. Watkins and the false contentions of the Defendants through their

Attorney (ECF 109, with 12 Exhibits).

                      Sanctions Pursuant To Rule 11(c) Are Warranted
                             By The Actual And Verified Facts

      20.     The latest, and third false contention of the facts by the Defendants through their

Attorney has doubled down on their violation of Rule 11(b)(3) & (4) and 18 U.S.C. § 1001.

There, the Defendants by their Attorney blatantly falsely stated, ““After Ms. Boulton submitted

additional information, see id., Ex. 3, the Department notified her that “[t]he administrative

process has been completed and your passport has been issued.” Id., Ex. 8 at 1.”” (ECF 117/118,

p. 9, last para., emphasis added).

      21. As well as the record already on file in the Court, and according to my attached

declaration herewith: I have not provided that “additional information” for which the

Defendants falsely stated they were waiting, about which Attorney Hair made a false

statement in his filing docketed as 117 and 118.

                       Demand For Sanctions And Special Prosecution

      22.   I demand the Defendants, Kristia Watkins, and more particularly their Attorney

Christopher Hair, to show the Court and the Plaintiffs that “additional information” that I

submitted to the agency - or otherwise; show cause why they should not be sanctioned pursuant

to Rule 11(c)(4) and investigated for violation of 18 U.S.C. § 1001.


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      23.   I move the Court to schedule a show-cause hearing via electronic media so that I, my

fellow Plaintiffs and the public, may attend remotely. I propose the hearing to be scheduled on

November 8, 9, 11, or 12, 2021. I’ve notified the Defendant before the opening of business

today, and received no response by the close of business.

      24.   If that cause cannot be shown, I demand the Court to order sanctions upon Kristia N.

Watkins, Christopher Hair, and their accomplices in or out of the United States Department of

State to such an extent to ensure that it “deters the repetition of the conduct or comparable

conduct by others similarly situated” pursuant to Rule 11(c)(4).

      25.   I move the Court to order Attorney Christopher Hair, Kristia N. Watkins, and any of

their accomplices, to pay a pecuniary penalty to the Court for the amount of money paid to them

by their Employer the United States and its agencies in relation to the time that they spent in the

production of their declarations, memoranda and etcetera in this matter relating to their filings of

ECFs 95, 105, and 117/118. It is restitution. Their acts violated the law. Their acts are

therefore not in an official capacity, yet were being paid for by the United States. They owe

restitution for the benefits of their ill-gotten-gain.

      26.   I move the Court to appoint a special prosecutor or refer the matter to the United

States Department of Justice, Criminal Division and/or Federal Bureau of Investigation, and/or

the United States Marshall’s Office, or whatever enforcement mechanisms is applicable, for

investigation and prosecution of these violations of 18 U.S.C. § 1001.



s/Michelle Boulton                                       Dated: October 21, 2021
In Propria Persona
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